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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DECKERS OUTDOOR CORPORATION,
                                                       Case No. 18-cv-08048
                        Plaintiff,
                                                       Judge John Robert Blakey
       v.
                                                       Magistrate Judge Jeffrey Cole
ZHAO WU, et al.,

                        Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Deckers”) hereby dismisses this action, with leave to reinstate within one

hundred and twenty (120) days, as to the following Defendants:

                  Defendant Name                                        Line No.
            Andu Trading Fast Fashion Store                               435
                    lidongZ shop                                          464
                     flowershijie                                         466
                  Super Watermelon                                        482


Dated this 8th day of February 2019.          Respectfully submitted,

                                              /s/ Justin R. Gaudio
                                              Amy C. Ziegler
                                              Justin R. Gaudio
                                              RiKaleigh C. Johnson
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